4:15-cr-03039-JMG-CRZ   Doc # 91   Filed: 02/01/17   Page 1 of 1 - Page ID # 175




             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiff,                           4:15-CR-3039
    vs.
                                                        ORDER
GERMAN ORTIZ LUEVANO,
                Defendant.


    IT IS ORDERED that:

    1.    The defendant's unopposed Motion to Continue Sentencing (filing
          89) is granted.

    2.    Defendant German Ortiz Luevano's sentencing is continued to
          March 3, 2017, at 1:30 p.m., before the undersigned United
          States District Judge, in Courtroom No. 1, Robert V. Denney
          United States Courthouse and Federal Building, 100 Centennial
          Mall North, Lincoln, Nebraska. The defendant shall be present at
          the hearing.

    Dated this 1st day of February, 2017.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge
